            Case 1:22-cv-03704-LGS Document 34 Filed 11/14/22 Page 1 of 3
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                                                                          865 South Figueroa Street
                                                                          Los Angeles, CA 90017-2566

                                                                          Spencer Persson, Partner
                                                                          (213) 633-6800 tel
                                                                          spencerpersson@dwt.com
                                   Application GRANTED. No further extensions will be granted absent
November 10, 2022                  extraordinary circumstances. The parties shall file a joint letter
                                   regarding any dispute requiring judicial resolution, as described in their
VIA ECF                            request, by December 9, 2023. The parties shall submit the names of
The Honorable Lorna G. Schofield any deponents, their roles in the underlying dispute, and a date for their
United States District Court       depositions that is agreeable to counsel and the witnesses by
Southern District of New York      November 21, 2022. An amended case management plan will issue
40 Foley Square                    separately.
New York, NY 10007                 Dated: November 14, 2022
                                          New York, New York
Re:    Shinano Kenshi Corp. et al. v. Honeywell Int’l Inc., Case No. 22 CV 3704 (LGS)

Dear Judge Schofield:

This firm is counsel to Plaintiffs Shinano Kenshi Corporation and Shinano Kenshi Co., Ltd.
(collectively, “Shinano”). We write jointly with Defendant Honeywell International Inc.
(“Honeywell”) pursuant to the Court’s Case Management Order, entered on July 22, 2022 (Dkt.
No. 24) (the “Order”), to request the extension of certain discovery deadlines for good cause.

I.     The Parties’ Efforts to Meet the Court-Ordered Discovery Deadlines and Need for
       an Extension of Discovery Deadlines

       a.    Discovery Propounded

The Parties have worked diligently to meet the Court-Ordered Discovery Deadlines. On July 28,
2022, Shinano served its First Set of Requests for the Production of Documents on Honeywell.
After Shinano agreed to a brief extension of the response deadline, Honeywell served its Responses
and Objections on September 1, 2022. On September 16, 2022, Shinano requested to meet and
confer concerning Honeywell’s objections regarding certain categories of documents. The parties
were able to reach an understanding on some of the requests while others are likely to need this
Court’s intervention. At this point, however, Shinano will need to review Honeywell’s production
before prematurely involving the Court.

On September 15, 2022, Honeywell served its First Set of Requests for the Production of
Documents on Shinano. After Honeywell agreed to a brief extension, Shinano served its
Objections and Responses to Honeywell’s First Set of Requests for the Production of Documents
on October 31, 2022. Shinano is still in the process of culling documents for production.

On September 21, 2022, the Parties exchanged their First Set of Interrogatories. After both Parties
agreed to a brief extension of the response deadline, Shinano and Honeywell both intend to serve
their Objections and Responses to the First Sets of Interrogatories by November 11, 2022.
         Case 1:22-cv-03704-LGS Document 34 Filed 11/14/22 Page 2 of 3




       b. Need for Extension of Discovery Deadlines

The Parties are working diligently to collect and produce documents, take depositions, and serve
requests to admit in accordance with this Court’s deadlines. However, this is a complicated
business case involving numerous custodians, foreign language documents and, as discussed
above, may require this Court’s intervention relating to documents that Shinano maintains are
central to the fraud claims in this matter, but which Honeywell maintains are not relevant or
proportional to this action. Assembling the documents to be produced (including foreign language
documents), reviewing the respective productions, and accounting for the probable need to bring
these issues to this Court’s attention will take additional time for which the Court’s current
schedule does not allow.

Accordingly, good cause exists to extend the discovery deadlines in the Court’s Case Management
Plan by eight weeks. An extension of eight weeks will ensure that responsive documents are
produced in advance of any scheduled depositions in this action. Moreover, counsel for Honeywell
and Shinano have substantial pre-existing obligations in other cases, including scheduled
arbitrations, in December 2022 and January 2023, which are likely to impact the Parties in meeting
the current deadlines in this action.

       c. The Parties Propose the Case Deadlines Be Amended by Eight Weeks as Follows

For these reasons, the Parties respectfully request an extension of the deadlines in the Case
Management Plan as set forth below.

 Section of Case Management       Original Deadline               Proposed Amended Deadline
 Plan
 8(a): Completion of Fact         December 19, 2022               February 24, 2023
 Discovery
 8(c): Production of              November 11, 2022               January 6, 2023
 Responsive Documents
 8(e): Completion of              February 2, 2023                March 30, 2023
 Depositions
 8(f): Service of Requests to     November 14, 2022               January 23, 2023
 Admit
 9(b): Completion of Expert       February 3, 2023                March 31, 2023
 Discovery
 13(b): Submit Joint Status       January 4, 2023                 March 13, 2023
 Letter
 13(c): Pre-Motion Conference     February 22, 2023 at 4:10 April 19, 2023 at 11:30 a.m.
                                  p.m.

The Parties have not sought any extensions of discovery deadlines from the Court in this matter.
Moreover, both Parties consent to the extension of the deadlines as detailed above.




                                                2
          Case 1:22-cv-03704-LGS Document 34 Filed 11/14/22 Page 3 of 3




We thank the Court for its attention to this matter.

Respectfully Submitted,

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